Case 5:05-cv-00350-WDO Document1 Filed 09/23/05 Page 1of5

UNITED STATES DISTRICT COURT pant pen nn
FOR THE MIDDLE DISTRICT OF GEORGIA {0.29 2S OEE
MACON DIVISION

poms ht

Case No. 05-CY -35 0 (0)

LETTY BROOKER,
Plaintiff,

vs.

WESTERN EXPRESS,

CONTINENTAL CASUALTY COMPANY and

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|
|
JOSEPH FLETCHER, |
|
|

Defendants.

NOTICE OF REMOVAL

TO: Clerk, United States District Court

For the Middle District of Georgia

Macon Division

Jarome E. Gautreaux, Esq.

J. Michael Cranford, Sr., Esq.

YOU ARE HEREBY notified that Western Express, Inc., Continental Casualty
Company and Joseph Fletcher, Defendants in the case styled, Letty Brooker v. Western
Express, Inc., Continental Casualty Company and Joseph Fletcher, Superior Court of
Bibb County, State of Georgia, denominated as Civil Action No. 05-CV-30815, pursuant
to 28 U.S.C. § 1332, 1441 and 1446, and Federal Rule of Civil Procedure 11, timely
files this Notice of Removal together with a filing fee and a copy of process and
pleadings served upon served said Defendants in said case.

YOU ARE FURTHER notified that the Defendants have also filed a Notice of
Removal with the Clerk of the Superior Court of Bibb County, State of Georgia, in the

Civil Action File Number herein referenced.
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In support of this notice, the Defendants show this Honorable Court the following:
1.

The matter in controversy is one in which this Court has original jurisdiction
pursuant to 28 U.S.C. § 1332. The Defendants are residents of the States of
Tennessee, Illinois and Alabama. Upon information and belief, the matter in
controversy is alleged to be greater than $75,000.00, exclusive of interest and costs,
and is between citizens of different states.

2.

Western Express, Inc. is a corporation incorporated under the laws of

Tennessee, with its principle place of business in Nashville, Tennessee.
3.

Continental Casualty Company is a corporation incorporated under the laws of

the State of Illinois with its principle place of business in Chicago, Illinois.
4,

Defendant, Joseph Fletcher, is currently a resident of the State of Alabama and

was a resident of Alabama at the time of the incident in question.
5.

This petition is filed within 30 days after receipt by Defendants through service or
otherwise of the Complaint, setting forth the claim for relief upon which that action is
based in said Civil Action is sought to be removed to this Court pursuant to the

provisions of 28 U.S.C. § § 1441, et. seq.
Case 5:05-cv-00350-WDO Document1 Filed 09/23/05 Page 3 of 5

6.

True and correct copy of all pleadings served upon the Defendants in said Civil
Action are hereto as Exhibit “A”.

7.

Defendants file and present cost of $250.00 in lieu of Bond to pay all costs and
disbursements incurred by reason of these removal proceedings should it be
determined that this case was not removable or was improperly removed.

WHEREFORE, Western Express, Inc., Continental Casualty Company and
Joseph Fletcher pray that this Notice be filed, that the entire action referred to herein
above be removed to and proceed in the United States District Court, Middle District of
Georgia, Macon Division, and no further proceedings be held in said case in the
Superior Court of Bibb County, State of Georgia, and that the Defendants have such

other and further relief as the Court deems just and proper in the circumstances.

AI
This day of September, 2005.

Respectfully submitted,

HALL, BOOTH, SMITH & SLOVER, P.C.

we [Ne

STEVEN D. PRELUTSKY
Attorney for Defendants
Georgia Bar No. 586760

1180 West Peachtree Street, N.W.
Atlantic Center Plaza, Suite 900
Atlanta, Georgia 30309-3479
Phone: (404) 954-5000
681919.1

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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

LETTY BROOKER,

Plaintiff, Case No::

WESTERN EXPRESS,
CONTINENTAL CASUALTY COMPANY and

|
|
|
|
VS.
|
|
JOSEPH FLETCHER, |

|

|

Defendants.

CERTIFICATE OF SERVICE

This is to certify that | have this day served all parties with a copy of the

within and foregoing NOTICE OF REMOVAL by depositing a copy of same in the

United States Mail with adequate postage affixed thereon to ensure delivery, in

an envelope addressed as follows:

Jarome E. Gautreaux, Esq. J. Michael Cranford, Sr., Esq.

O’Neal, Brown & Clark, P.C. O’Neal, Brown & Clark, P.C.
544 Mulberry Street, Suite 1001 913 Washington Avenue

Macon, Soong te0Ne tT Macon, Georgia 31201

This day of September, 2005.

HALL, BOOTH, SMITH & SLOVER, P.C.

bw. —

STEVEN D. PRELUTSKY
Georgia Bar No. 586760

1180 West Peachtree Street, N.W.
Atlantic Center Plaza, Suite 900
Atlanta, Georgia 30309-3479
Phone: (404) 954-5000
Case 5:05-cv-00350-WDO Document1 Filed 09/23/05 Page 5of5

®JS 44 (Rev. 11/04)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other

CIVIL COVER SHEET

apers as required by law, except as provided

by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

the civil docket sheet.

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

L. (a) PLAINTIFFS

LETTY BROOKER

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number

)

DEFENDANTS

WESTERN EXPRESS, INC., CONTINENTAL CASUALTY

COMPANY and JOSEPH FLETCHER
County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

LAND INVOLVED.

Attomeys (If Known)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE

If. BASIS OF JURISDICTION = (lace an “x” in

[1 US. Government (C13 Federal Question
Plaintiff (U.S, Government Not a Party)
oO 2 U.S. Government 4 Diversity

Defendant

(Indicate Citizenship of Parties in Item IID)

One Box Only)

Citizen of This State

Citizen or Subject of a
Foreign Country

Citizen of Another State

I. CITIZENSHIP OF PRINCIPAL PARTIES @iace an “x” in One Box for Plaintiff
(For Diversity Cases Only)

and One Box for Defendant)
PTF DEF PTF DEF
1 [[J1 _ Incorporated or Principal Place D4 C4
of Business In This State
oO 2 2 Incorporated and Principal Place oO 5 5
of Business In Another State
oO 3 oO 3 Foreign Nation oO 6 oO 6

IV. NATURE OF SUIT (lace an “x” in One Box Onl

CONTRACT TORTS OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY ][_| 610 Agriculture 22 Appeal 28 USC 158 400 State Reapportionment
120 Marine 310 Airplane oO 362 Personal Injury - |_| 620 Other Food & Dmg 23 Withdrawal 410 Antitrust
130 Miller Act 315 Airplane Product Med. Malpractice | | 625 Dmg Related Seizure 28 USC 157 430 Banks and Banking
140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 450 Commerce
150 Reeovery of Overpayment 320 Assault, Libel & Product Liability 630 Liquor Laws I PROPERTY RIGHES 460 Deportation
& Enforcement of Judgment Slander 368 Asbestos Personal 640 R.R. & Truck 820 Copyrights 470 Racketeer Influenced and
151 Medicare Act 330 Federal Employers’ Injury Product 650 Airline Regs. 830 Patent Corrupt Organizations
152 Recovery of Defaulted Liability Liability 660 Occupational 840 Trademark 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health 490 Cable/Sat TV
(Excl. Veterans) 345 Marine Product 370 Other Fraud C1 690 Other 810 Selective Service
Ol 153 Recovery of Overpayment Liability 371 Tmth in Lending I : LABOR SOCIAL SECURITY 850 Securities/Commodities/
of Veteran’s Benefits 350 Motor Vehicle 380 Other Personal UJ 710 Fair Labor Standards al 861 HIA (1395ff) Exchange
160 Stockholders’ Suits |} 355 Motor Vehicle Property Damage Act 862 Black Lung (923) oO 875 Customer Challenge
190 Other Contract Product Liability oO 385 Property Damage 720 Labor/Mgmt. Relations |f"|863 DIWC/DIWW (405(g)) 12 USC 3410
195 Contract Product Liability Ol 360 Other Personal Product Liability 730 Labor/Mgmt.Reporting |f"]864 SSID Title XVI oO 890 Other Statutory Actions
196 Franchise Injury & Disclosure Act CI 865 RSI (405(g)) EJ 891 Agricultural Acts
SPE CIVIL RIGHTS PRISONER PETITIONS | 740 Railway Labor Act FEDERAL TAX SUITS 892 Economic Stabilization Act
441 Voting LJ 510 Motions to Vacate 790 Other Labor Litigation [ ] 870 Taxes (U.S. Plaintiff 893 Environmental Matters
20 Foreclosure 442 Employment Sentence 791 Empl. Ret. Inc. or Defendant) 894 Energy Allocation Act
30 Rent Lease & Ejectment Ll 443 Housing/ Habeas Corpus: Security Act Cl 871 IRS—Third Party 895 Frecdom of Information
40 Torts to Land Accommodations 530 General 26 USC 7609 Act
45 Tort Product Liability Ci 444 Welfare 535 Death Penalty oO 900Appeal of Fee Determination
290 All Other Real Property 445 Amer. w/Disabilities - 540 Mandamus & Other Under Equal Access
Employment 550 Civil Rights to Justice
446 Amer. w/Disabilities - 555 Prison Condition Ol 950 Constitutionality of
Other State Statutes
[L] 440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) : Appeal to District
fh . 2 C13 C14... oO Transferred from Cle oo, O7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

28 U.S.C. 1332,

Cite the U.S. Civil Statute under which a are filing (Do not cite jurisdictional statutes unless diversity):

1441 and 144

VI. CAUSE OF ACTION

Brief description of cause:

VII. REQUESTED IN LJ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Clyes [No
Vill. RELATED CASE(S) .
IF ANY (See instructions): GE / DOCKET Bod 5 ~ C V = 3 5
DATE SIGMATURE OF ATT! OF RECORD S
09/21/05 MA
FOR OFFICE USE ONLY ’ .
RECEIPT 2520] g “AMOUNT APPLYING IFP JUDGE MAG. JUDGE

